                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-3228                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                  Filed On: August 2, 2024 [2068038]
United States of America,

              Appellee

      v.

Donald J. Trump,

              Appellant

                                     MANDATE

      In accordance with the order of August 2, 2024, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




Link to the order filed August 2, 2024
